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UNITED STATES BANKRUPTCY COURT
Southern District of Texas
PDF FILE WITH AUDIO FILE ATTACHMENT

      2025-90022
      Telefonica del Peru S.A.A.



      Case Type :                    bk
      Case Number :                  2025-90022
      Case Title :                   Telefonica del Peru S.A.A.

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